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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASINGTON AT SEATTLE
MAERSK LINE, ) IN ADMIRALTY
)
Plaintiff, ) Case No.
)
vs. )
) COMPLAINT FOR MONEY DUE
GOLDEN HARVEST ALASKA ) UNDER TARIFF & SERVICE
SEAFOOD, LLC, ) CONTRACTS, BREACH OF
Defendant. ) CONTRACT(S), QUANTUM
) MERUIT, ACCOUNT STATED

 

Maersk Line alleges that:
FIRST COUNT

(For Money due Under Tariff & Service Contracts)

L, This Court has jurisdiction under 28 U.S.C. §§1331 and 1333. This
matter arises under the laws of the United States, in particular, The Shipping Act
of 1984, (as amended) 46 U.S.C. §§40101 et seq. (hereinafter "The Act"), and
involves contract(s) within the jurisdiction or claims pendent or ancillary to the
same. This is an admiralty and maritime claim.

2. Maersk Line (hereinafter “Plaintiff’) is a common carrier by water,
inter alia, in the interstate and foreign commerce of the United States as defined in

LAW OFFICE OF WILLIAM DEVOE
SKINNER BUILDING, SUITE 438
1326 FIFTH AVENUE
COMPLAINT FOR MONEY DUE SELHIE WA SGtO1
I TELEPHONE (206) 251-1688
WDEVOE@LAWDEVOE.COM

 

 
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The Act and was such a common carrier for the benefit of Golden Harvest Alaska
Seafood, LLC. Golden Harvest Alaska Seafood, LLC is also known as Golden
Harvest Seafood LLC (collectively “Golden Harvest”).

3. Defendant is and was at all times herein mentioned, a natural person,
firm, association, organization, partnership, corporation, business, trust, or public
entity, with its place of business or residence in this district and is and was a legal
entity capable of being sued.

4. Venue is proper in this judicial district because defendant Golden
Harvest has a business address of 2219 Rimland Drive, Bellingham, Whatcom
County Washington and does business in this district.

oF Plaintiff has filed a schedule of its rates and charges and service
contracts for the carriage of cargo, ocean freight, wharfage and dockage detention
and demurrage and related charges with the Federal Maritime Commission or has
otherwise maintained said rates, charges, tariffs or service contracts pursuant to
The Act. Pursuant to The Act, Plaintiff is prohibited from transporting cargo for a
lesser rate than that specified in its tariffs or service contracts. The Act also
prohibits Defendant Golden Harvest from obtaining transportation or attempting to
obtain transportation of cargo at lesser rates.

6. Plaintiff transported cargo for the benefit of Defendant Golden
Harvest during 2019 in the foreign commerce of the United States in the course
and scope of Defendant’s operations. Such transportation and services provided
are evidenced by Plaintiff's service contracts, bills of lading and/or freight bills,
invoices, credit agreements and freight guarantees, the terms of which are
incorporated herein through this reference. Plaintiff has fully performed its tariff
and contractual obligations. A summary of the relevant bills of lading and

invoices are attached hereto as Exhibit “A” and made a part hereof.

LAW OFFICE OF WILLIAM DEVOE
SKINNER BUILDING, SUITE 438
1326 FIFTH AVENUE
COMPLAINT FOR MONEY DUE SEATTLE. WA 98101
2 TELEPHONE (206) 251-1688
WDEVOE@LAWDEVOE.COM

 

 
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7. Plaintiff has demanded that Defendant pay the amount due to
Maersk.

8. Defendant has knowingly and willfully failed and refused to pay
Plaintiff the full amount due.

9. Consequently, Defendant is liable to Plaintiff in the amount of
$642,395.00, after all credits identified in Exhibit A, plus reasonable attorneys'

fees, costs, and interest thereon.

SECOND COUNT
(For Breach of Written Contract(s))

10. Plaintiff refers to paragraphs 1 through 9 of this complaint and
incorporates them herein by this reference.

11. Said transportation was performed pursuant to a written contract(s) of
carriage and/or service contracts between Plaintiff and Defendant Golden Harvest,
as evidenced by said bills of lading and/or invoices listed in Exhibit A.

12. Plaintiff has fully performed its obligations under said contracts
except those obligations, if any, which Plaintiff was excused from performing.

13. Plaintiff has demanded that Defendant pay the amount due under said
contracts and the Defendant has refused to pay thereon.

14. Consequently, Defendant is liable to Plaintiff in the amount of
$642,395.00, after all credits identified in Exhibit A, plus reasonable attorneys’

fees, costs and interest thereon.

LAW OFFICE OF WILLIAM DEVOE
SKINNER BUILDING, SUITE 438
1326 FIFTH AVENUE
COMPLAINT FOR MONEY DUE SEATILE. WA 98101
3 TELEPHONE (206) 251-1688
WDEVOE@LAWDEVOE.COM

 

 
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THIRD COUNT

(For Unjust Enrichment and/or Quantum Meruit))
15. Plaintiff refers to paragraphs | through 14 of this complaint and

incorporates them herein by this reference.

16. Plaintiff provided Defendant with goods and services at
Defendant’s request and/or direction, and Defendants have benefited thereby.

17. Plaintiff expected to be compensated for the goods and services
provided to Defendant and Defendant knew that Plaintiff expected such
compensation.

18. Defendant has not compensated Plaintiff for any of the value of the
goods and services provided to Defendants.

19. Defendants have been unjustly enriched and are liable to Plaintiff
for the value of that unjust enrichment in the sum of $642,395.00 after all credits
identified in Exhibit A, which is now due, owing and unpaid for said goods and

services plus reasonable attorneys' fees, costs and interest thereon.

FOURTH COUNT

(For Account Stated)
20. Plaintiff refers to paragraphs | through 19 of this complaint and

incorporates them herein by this reference.

LAW OFFICE OF WILLIAM DEVOE
SKINNER BUILDING, SUITE 438
1326 FIFTH AVENUE
COMPLAINT FOR MONEY DUE SEATS WE Bint
4 TELEPHONE (206) 251-1688
WDEVOE@LAWDEVOE.COM

 

 
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21. Plaintiff produced a series of writings evidencing a total balance on
defendant Golden Harvest’s account to defendants in the form of bills of lading,
freight invoices, and statements of account.

22. Defendants acquiesced to the written accounts by failing to object
to the correctness of the writings within a reasonable amount of time.

23. By failing to object to the writings, the defendant is liable to
Plaintiff for account stated in the sum of $642,395.00 after all credits identified in
Exhibit A, is now due, owing and unpaid on said account.

24. Consequently, Defendant is liable to Plaintiff in the amount of
$642,395.00, after all credits identified in Exhibit A, plus reasonable attorneys’

fees, costs and interest thereon.

WHEREFORE, plaintiff prays for judgment against defendant as follows:

1. For judgment against the defendant in the principal amount of $642,395.00
in favor of plaintiff Maersk Line;

2. For the costs of collection, according to proof;

3. For costs of suit incurred herein, according to proof;

4. For pre-judgment and post-judgment interest;

5. For reasonable attorneys' fees as provided in tariff and contract; and

6. For such other and further relief as the Court deems just and proper.

Dated: July 23, 2020,
By: — s/ William D. DeVoe
William D. DeVoe
Law Office of William DeVoe
Attorneys for Plaintiff
MAERSK LINE

LAW OFFICE OF WILLIAM DEVOE
SKINNER BUILDING, SUITE 438
1326 FIFTH AWENUE
COMPLAINT FOR MONEY DUE sete ae
5 TELEPHONE (206) 251-1488
WDEVOE@LAWDEVOE.COM

 

 
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Account _ [bill of ladingInv. ref. _[Ref. Key 2|amount Doc. .Date
US02569980 |968385513 5255107787 |EXPORT ($9,920.00)| 04/12/2019
US02569980 1968253600 5255088285 |EXPORT $431,241.00 04/06/2019
US02569980 |/968253611 5255088287 |EXPORT $180,843.00 04/06/2019
US02569980 1968323594 5255088705 | EXPORT $264,309.00 | 04/06/2019
US02569980 [968640603 5255179643 |EXPORT $14,949.00 | 05/03/2019
US02569980 |967927718 3410385669 ($19,458.00)| 06/11/2019
US02569980 |967927718 3410385670 ($13,670.00)] 06/11/2019
US02569980 [968253600 5255088285 |EXPORT ($100,000.00) 07/13/2019
US02569980 |968876597 3501372041 ($14,949.00)| 08/07/2019
US02637820 |968896738 5255517287 |DEM-INV $71,300.00 | 08/07/2019
US02569980 |968253600 5255088285 | EXPORT ($120,000.00)| 09/05/2019
US02569980 | 968253600 5255088285 [EXPORT ($150,000.00)| 09/29/2019
US02569980 |969311548 5255862874 | DEM-INV $1,230.00 | 11/08/2019
US02569980 |969311548 5255928743 |DEM-INV $45,830.00 | 11/28/2019
US02569980 |969311548 5255955165 IDEM-INV $49,750.00 | 12/06/2019
US02569980 |968253600 5255088285 | EXPORT ($1,200.00)] 01/12/2020
US02569980 |969811819 5256194952 | DEM-INV $6,070.00 | 02/13/2020
US02569980 |969811819 5256340915 |DEM-INV $6,070.00 04/01/2020
$642,395.00

 

 

 

 

 

 

Exhibit

 

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